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   1                                   NOTE: CHANGES MADE BY THE COURT
   2
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   6
   7
   8                         UNITED STATES DISTRICT COURT
   9                        CENTRAL DISTRICT OF CALIFORNIA
  10
       MARCUS VAUGHN; S.J., a minor, by             Case No. CV 16-03086 AB (AJWx)
  11
       and through her guardian ad litem Tiassa
  12   Powell; and D.J.A, a minor, by and           [Honorable Andre Birotte, Jr.]
       through his guardian ad litem Tiassa
  13   Powell, in each case individually and as a   FINAL PRETRIAL CONFERENCE
  14   successor in interest to Redel Jones,        ORDER
       deceased; and HAROLD HORNE,
  15   individually,
  16
                   Plaintiffs,
  17
             vs.
  18
  19 CITY OF LOS ANGELES; BRETT
     RAMIREZ; and DOES 1-10, inclusive,
  20                                                Trial:                     11/7/17
               Defendants.                          Pretrial Conference:       10/16/17
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   1        Following pretrial proceedings, pursuant to F.R.Civ.P. 16 and L.R. 16, IT IS
   2 ORDERED:
   3 1.     THE PARTIES
   4        The parties are:
   5              Plaintiff Marcus Vaughn (husband of decedent, Redel Jones);
   6              Plaintiff D.J.A. (minor son of decedent, Redel Jones);
   7              Plaintiff S.J. (minor daughter of decedent, Redel Jones);
   8              Plaintiff Harold Horne (father of decedent, Redel Jones);
   9              Defendant City of Los Angeles; and
  10              Defendant City of Los Angeles Police Officer Brett Ramirez.
  11        Each of these parties has been served and has appeared. All other
  12 parties named in the pleadings and not identified in the preceding paragraph are now
  13 dismissed.
  14        The pleadings which raise the issues are: Plaintiffs’ May 4, 2016 Complaint
  15 for Damages [Dkt. #1]; Defendants’ June 16, 2016 Answer [Dkt. #16]; Plaintiffs’
  16 September 25, 2016 Memorandum of Contentions of Fact and Law [Dkt.#55];
  17 Defendants’ Memorandum of Contentions of Fact and Law [Dkt. #45]; and this
  18 Proposed Joint Pretrial Conference Order.
  19      A. Dismissed Claims
  20              The following claims and defendants are being dismissed by
  21 stipulation of the parties, each side to bear their own costs:
  22               a.    1st Claim for Relief: Fourth Amendment – Detention and Arrest
  23                     (42 USC § 1983)

  24              b.     3rd Claim for Relief: Denial of Medical Care (42 USC § 1983)
                  c.     8th Claim for Relief:        False Arrest/False Imprisonment (Cal.
  25
                         State law)
  26
                  d.     11th Claim for Relief: Violation of Cal. Civil Code §52.1 (Bane
  27
                         Act)
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   1 2.     FEDERAL JURISDICTION AND VENUE
   2        Federal jurisdiction and venue are invoked upon the grounds:
   3        Plaintiffs allege, pursuant to 42 U.S.C. § 1983, that Defendant LAPD Officer
   4 Brett Ramirez violated decedent Redel Jones’ Fourth Amendment right to be free
   5 from unlawful seizures by using unreasonable force against her. Plaintiffs also
   6 allege that the use of excessive force by Ramirez violated their rights under the
   7 Fourteenth Amendment to be free from unlawful state interference with their
   8 familial relations with the decedent. Plaintiffs allege that such violations occurred
   9 within this District and that one or more of the Defendants resides in this District.
  10 Subject-matter jurisdiction is appropriate under 28 U.S.C. §§ 1331 and 1343 (a) and
  11 venue is appropriate under 28 U.S.C. § 1391. The facts requisite to federal
  12 jurisdiction are admitted.
  13 3.     TRIAL ESTIMATE
  14        Plaintiffs contend that a jury trial of all claims, including Monell, would take
  15 5 court days.
  16        Defendants contend that that trial of all claims is to take 4-6 days.
  17        The Court sets the following time limits:
  18              12 hours per side to present evidence
  19              20 minutes per side for opening statements
  20              40 minutes per side for closing arguments
  21 4.     JURY TRIAL
  22        A trial is to be by jury.
  23 5.     ADMITTED FACTS
  24        The following facts are admitted and require no proof:
  25        1.       The incident in this case occurred on August 12, 2015.
  26
  27
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   1        2.     Ramirez was acting under color of state law and in the course and
   2               scope of his employment as a member of the Los Angeles Police
   3               Department.
   4        3.  The officer-involved shooting occurred in Los Angeles, California.
   5 6.     STIPULATED FACTS

   6               Beyond those listed in section 5 above, there are no other facts both

   7 parties are willing to stipulate to.
   8 7.     CLAIMS AND DEFENSES

   9        (a)    Plaintiffs plan to pursue the following claims against the following

  10 defendants:
  11        Claim 1:     Defendant Brett Ramirez used excessive force against Redel
  12                     Jones in violation of her Fourth Amendment rights and 42 U.S.C.
  13                     § 1983.
  14        Claim 2:     The use of excessive force by Officer Ramirez against Ms. Jones
  15                     violated Plaintiffs’ Fourteenth Amendment substantive due
  16                     process rights to be free from unlawful state interference with
  17                     their familial relationship, companionship, and society with Ms.
  18                     Jones.
  19        Claim 3:     The LAPD is liable for the use of excessive force by Ramirez
  20                     because it ratified Ramirez’ unconstitutional conduct; and/or
  21                     The LAPD is liable for the use of excessive force by Ramirez
  22                     because its failure to train and discipline its officers was the
  23                     moving force that ultimately caused Ms. Jones’ death; and or
  24                     The LAPD is liable for the use of excessive force by Ramirez
  25                     because the LAPD’s widespread practice or custom of failing to
  26                     investigate, discipline or retrain its officers for their use of
  27
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                                                 -3-
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   1                     excessive force was the moving force that caused Ms. Jones’
   2                     ultimate injury.
   3        Claim 4:     Officer Ramirez used unreasonable force which constituted
   4                     battery by a peace officer in violation of California law.
   5        Claim 5:     Officer Ramirez’ pre-shooting tactics and use of force breached
   6                     his duty to care to act as a reasonable peace officer and was
   7                     therefore negligent.
   8        Claim 6:     Officer Ramirez used excessive and unreasonable force against
   9                     Redel Jones in violation of her civil rights as protected by the
  10                     California Constitution pursuant to the Bane Act.
  11        (b)    The elements required to establish Plaintiff’s claims are:
  12 Claim 1:      Excessive Force (Fourth Amendment).
  13 Elements:
  14        1.     Officer Ramirez used excessive force against the decedent; and
  15        2.     The excessive force was a cause of injury, loss, damage, harm, pain,
  16               suffering and loss of life to Ms. Jones, and was a cause of the resulting
  17               injury, damage, loss, and harm to Plaintiffs. See Ninth Circuit Manual
  18               of Model Jury Instructions, No. 9.25.
  19        Plaintiffs bring this claim in their individual capacities on their own behalves
  20 and as successor in interest to decedent on her behalf and seeks survival damages,
  21 wrongful death damages, punitive damages, and reasonable attorneys’ fees under
  22 federal law for this claim.
  23 Claim 2:      Unlawful Interference with Familial Relations (Fourteenth Amendment).
  24 Elements:
  25        1.     Officer Ramirez acted with deliberate indifference to the decedent’s
  26               rights. See Porter v. Osborn, 546 F. 3d 1131 (9th Cir. 2008). See
  27               Comment to Ninth Cir. Model Civil Instruction 9.32; Strandberg v.
  28
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   1               City of Helena, 791 F.2d 744 (9th Cir.1986); Smith v. City of Fontana,
   2               818 F.2d 1411, 1420 (9th Cir. 1987) overruled on other grounds by
   3               Hodgers-Durgin v. de la Vina, 199 F.3d 1037 (9th Cir. 1999).
   4        “Deliberate indifference is the conscious or reckless disregard of the
   5 consequences of one’s acts or omissions. It entails something more than negligence
   6 but is satisfied by something less than acts or omission for the very purpose of
   7 causing harm or with knowledge that harm will result.” Gantt v. City of L.A., 717
   8 F.3d 702, 708 (9th Cir.2013).
   9        Plaintiffs brings this claim in their individual capacities, seek recovery for
  10 loss of the decedent’s love, companionship, comfort, care, assistance, protection,
  11 affection, society, moral support, and they seek punitive damages, and attorneys’
  12 fees under federal law for this claim.
  13 Claim 3:      Municipal (Monell) Liability.
  14 Based on Ratification
  15 Elements:
  16        1.     Brett Ramirez acted under color of state law;
  17        2.     Brett Ramirez deprived Ms. Jones of her Fourth Amendment rights;
  18        3.     Captain Sean Parker and/or Chief Charlie Beck acted under color of
  19               state law;
  20        4.     Captain Sean Parker and/or Chief Charlie Beck had final policymaking
  21               authority from defendant City of Los Angeles concerning the acts and
  22               failures to act of Officer Ramirez; and
  23        5.     Captain Sean Parker and/or Chief Charlie Beck ratified Officer
  24               Ramirez’s acts and failures to act, that is, Captain Sean Parker and/or
  25               Chief Charlie Beck knew of and specifically made a deliberate choice
  26               to approve Officer Ramirez’s acts and failures to act and the basis for
  27               it.
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   1 Based on Failure to Train
   2        1.    The acts and failures to act of LAPD Officer Brett Ramirez deprived
   3              Ms. Jones of her Fourth Amendment rights;
   4        2.    Brett Ramirez acted under color of state law;
   5        3.    The policies of the defendant LAPD were not adequate to prevent
   6              violations of law by its employees or train its police officers to handle
   7              the usual and recurring situations with which they must deal;
   8        4.    The LAPD was deliberately indifferent to the known or obvious
   9              consequences of its failure to train or discipline police officers
  10              adequately; and
  11        5.    The failure of the defendant LAPD to prevent violations of law by its
  12              employees or to provide adequate training and discipline caused the
  13              deprivation of Ms. Jones’ rights by Officer Ramirez, that is, the
  14              defendant’s failure to train and discipline its officers for excessive
  15              force is so closely related to the deprivation of Ms. Jones’ rights as to
  16              be the moving force that caused the ultimate injury.
  17 Based on Official Policy, Practice, or Custom
  18        1.    Officer Ramirez acted under color of state law;
  19        2.    The acts of Officer Ramirez deprived Ms. Jones of her Fourth
  20              Amendment right to be free from excessive force;
  21        3.    Officer Ramirez acted pursuant to an expressly adopted official policy
  22              or a widespread or longstanding practice or custom of the defendant
  23              LAPD; and
  24        4.    The defendant LAPD’s official policy or widespread or longstanding
  25              practice or custom caused the deprivation of Ms. Jones’ rights by the
  26              Officer Ramirez, that is, the LAPD’s official policy or widespread or
  27              longstanding practice or custom is so closely related to the deprivation
  28
                                                 -6-
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   1               of Ms. Jones’ rights as to be the moving force that caused the ultimate
   2               injury.
   3        Plaintiffs bring these claims in their capacities as successors in interest to
   4 Redel Jones and seek survival damages, punitive damages, and attorneys’ fees
   5 under federal law for these claims.
   6 Claim 4:      Battery (Wrongful Death).
   7 Elements:
   8 1.            Officer Ramirez used unreasonable force against Ms. Jones;
   9 2.            Ms. Jones did not consent to that use of force;
  10 3.            Officer Ramirez’s use of unreasonable force was a substantial factor in
  11               causing Ms. Jones’ death. See CACI 1305.
  12        Plaintiffs seek wrongful death damages and attorneys’ fees under state law
  13 for this claim and contend that the City of Los Angeles is vicariously liable for
  14 Officer Ramirez’s use of unreasonable force for this claim.
  15 Claim 5:      Negligence (Wrongful Death).
  16 Elements:
  17        1.     Officer Ramirez was negligent; and
  18        2.     Officer Ramirez’s negligence was a cause of Ms. Jones’ death. See
  19               CACI 400, 401, 440.
  20        Plaintiffs seek wrongful death damages under state law for this claim and
  21 allege that the City of Los Angeles is vicariously liable for Officer Ramirez’s
  22 conduct for this claim.
  23        (c)    In brief, the key evidence Plaintiffs rely on for each of the claims is:
  24        1.     Testimony of Plaintiffs, guardian ad litem, Tiassa Powell and
  25               Phyniques Williams;
  26        2.     Testimony of Defendant Officer Ramirez;
  27        3.     Testimony of Officer Iniguez;
  28
                                                 -7-
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    1       4.    Testimony of Officer Carpenter;
    2       5.    Testimony of Officer Hughes;
    3       6.    Testimony of Courtyana Franklin;
    4       7.    Testimony of the Medical Examiner, Dr. Su;
    5       8.    Testimony of Plaintiffs’ police practices expert, Roger Clark;
    6       9.    Testimony of coroner’s investigator;
    7       10.   Testimony of LAPD Detectives and Force Investigation Division
    8             Commander and Chief Officer;
    9       11.   Testimony of Captain Sean Parker, Commanding Officer of the
  10              Southwest Division;
  11        12.   Testimony of Chief Charlie Beck;
  12        13.   Testimony of Detective III Javier Lozano;
  13        14.   Testimony Sr. MA I Miguel Munoz, PSB CMSU;
  14        15.   Testimony of first responder personnel who arrived at scene, Reddick;
  15        16.   Photos of scene;
  16        17.   Photos of decedent at scene;
  17        18.   Autopsy report and photographs of decedent;
  18        19.   Testimony of criminalists and investigators concerning bullet impacts,
  19              casings, projectiles, and physical evidence recovered from scene;
  20        20.   Police reports;
  21        21.   Dispatch and Radio Broadcast recordings;

  22        22.   Quarterly Discipline Reports by the LAPD for Five Years prior to the
                  Shooting;
  23
            23.   June 23, 2016 Interdepartmental Correspondence to Board of Police
  24
                  Commissioners re FID No. 067-15
  25
            24.   Evidence of prior complaints, retraining, internal affairs investigations,
  26
                  and disciplinary actions of the involved officers;
  27
            25.   TASER Download;
  28
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    1         26.   Plaintiffs’ funeral and burial expenses;
    2         27.   Photographs of decedent with Plaintiffs and family members;
    3         28.   Emails between decedent and her sister;
    4         29.   Facebook posts by the decedent;

    5         30.   Decedent’s obituary;
              31.   Reference to original statements and depositions of involved officers
    6
                    and percipient witnesses.
    7
    8
        Defendants Objections and Statement of Required Elements
    9
        Claim 1 (Fourth Amendment – excessive force): Defendants contend the proper
  10
        elements would be:
  11
  12
              1.    Defendant Ramirez’ acts were intentional;
  13          2.    Defendant Ramirez acted under color of state law; and
  14          3.    Defendant Ramirez unreasonably seized Redel Jones’ person by using
  15 unreasonable force against her; and
  16       4.    The acts of Defendant Ramirez were the cause of the deprivation of
  17 the decedent, Redel Jones’, rights protected by the Constitution or laws of the
  18 United States.
  19 See Ninth Circuit Manual of Model Jury Instructions 9.1, 9.2 and 9.25 (2017);
  20 Baker v. McCollan, 443 U.S. 137, 142 (1979)
  21 Claim 2 (14th Amendment – loss of familial relationship):
  22          1.    Defendant Ramirez’ acts were intentional;

  23          2.    Defendant Ramirez acted under color of state law;

  24          3.    Plaintiffs had a familial relationship with Redel Jones;
              4.    Defendants used unreasonable force against Redel Jones; and
  25
              5.    In using the unreasonable force, Defendant Ramirez acted in a manner
  26
        that “shocks the conscience”
  27
  28
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    1 See Ninth Circuit Manual of Model Jury Instructions 9.32 (2017); Byrd v Guess,
                      th
    2 137 F.3d 1126 (9 Cir.1998).
    3
    4 Claim 3:
    5 (Monell – based on ratification) – Defendants object to inclusion of this claim as
        Plaintiffs have not pled a specific individual defendant policymaker as required by
    6
        law, and therefore cannot proceed on this claim. See Ninth Circuit Manual of
    7
        Model Civil Jury Instructions, 9.7 (2017); Jett v. Dallas Indep. Sch. Distr., 491 U.S.
    8
        701, 737-38 (1989); Trevino v. Gates, 99 F.3d 911, 920 (9th Cir. 1996); Gillette v.
    9
        Delmore, 979 F.2d 1342, 1348 (9th Cir. 1992); Sheehan v. City & Cnty. of S.F., 741
  10
        F.3d 1211, 1231 (9th Cir. 2014); Clouthier v. Cnty. of Contra Costa, 591 F.3d
  11
        1232, 1253-54 (9th Cir. 2010).1
  12
        (Monell – based on failure to train)
  13                 1.    The acts of Officer Ramirez deprived the plaintiff of her
  14                       particular rights under the United States Constitution;
  15                 2.    Officer Ramirez acted under color of state law;
  16                 3.    The training policies of the defendant City of Los Angeles were
  17                       not adequate to train its police officers to handle the usual and
  18                       recurring situations with which they must deal;
  19
  20
  21       1
             Plaintiffs respond that persons who qualify as final policymakers were
  22    identified by documents produced by the City near the end of discovery. These
        individuals are listed herein and on Plaintiffs’ witness list. Moreover, Plaintiffs do
  23
        not bring a claim for supervisory liability and therefore contend that since it is the
  24    City who is the defendant on the Monell claim – not the individual City employee
        who may or may not be the final policy maker – it is not fatal to Plaintiffs’ Monell
  25
        claim that the names of the final policymakers do not appear in the complaint.
  26    Finally, Plaintiffs contend that Defendants waived this argument by failing to
        challenge the adequacy of the pleadings regarding this claim via either a Rule 12 or
  27
        Rule 56 motion.
  28
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    1               4.     The defendant City of Los Angeles was deliberately indifferent
    2                      to the known or obvious consequences of its failure to train its
    3                      police officers; and
    4               5.     The failure of the defendant City of Los Angeles to provide

    5                      adequate training caused the deprivation of the plaintiff’s rights
                           by Officer Ramirez; that is, the defendant’s failure to train is so
    6
                           closely related to the deprivation of the plaintiff’s rights as to be
    7
                           the moving force that caused the ultimate injury.
    8
              See Ninth Circuit Manual of Model Jury Instructions 9.8 (2017).
    9
        (Monell based on custom, policy and practice)
  10
              Defendants are agreeable to the elements as set forth by Plaintiffs.
  11
        Claim 4 (Wrongful Death (Battery)):
  12
              1.    That Officer Ramirez intentionally touched Redel Jones or caused
  13 Redel Jones to be touched;
  14       2.    That Officer Ramirez used unreasonable force to detain Redel Jones;
  15          3.    That Redel Jones did not consent to the use of that force;
  16          4.    That Redel Jones was harmed; and
  17          5.    That Officer Ramirez’ use of unreasonable force was a substantial
  18 factor in causing Redel Jones’ death.
  19          See California Civil Jury Instructions (CACI) 1305.
  20 Claim 5 (Wrongful Death (Negligence)):
  21      1.    That Officer Ramirez used unreasonable force against Redel Jones in
  22 detaining and/or arresting her; and
  23       2.    That Officer Ramirez’s use of unreasonable force was a substantial

  24 factor in causing Redel Jones’ death.
            See California Civil Jury Instructions (CACI) – 440 and 3921; Heymann v.
  25
     California, 2000 U.S. Dist. LEXIS 16357 (N.D. Cal. 2000); Hernandez v. City of
  26
     Pomona (2009) 46 Cal. 4th 501, 513.
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  28
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    1 Defendants’ Counterclaims and Affirmative Defenses:
    2         (a)    Defendant plans to pursue the following counterclaims and affirmative
    3 defenses:
    4                First Affirmative Defense: Qualified Immunity (federal)
    5                Second Affirmative Defense: Qualified Immunities (state)
    6                Cal. Gov. Code, § 815.2(b): Injuries by Employee Within Scope of
    7 Employment; Immunity of Employee
    8           Cal. Gov. Code, § 820.2: Discretionary Acts
                     Cal. Gov. Code, § 820.8: Acts or Omissions of Others
    9
                     Cal. Gov. Code § 821.6: Immunity
  10
                     Third Affirmative Defense: Self-Defense/Defense of Others
  11
                     Fourth Affirmative Defense: Contributory Negligence
  12
                     Fifth Affirmative Defense: Failure to Comply With California Tort
  13
        Claims Act, California Government Code § 910 et seq.
  14
              (b)    The elements required to establish Defendant’s counterclaims and
  15
        affirmative defenses are:
  16
              First Affirmative Defense: Qualified Immunity
  17
                     1.    Whether Defendant Ramirez’ alleged conduct violated a
  18 constitutional right;
  19              2.     If a constitutional right was violated, whether the constitutional
  20 right was “clearly established.”
  21                 See Saucier v. Katz, 533 U.S. 194, 200 (2001); Ramirez v. City of
  22 Buena Park, 560 F.3d 1012, 1020 (9th Cir. 2009).
  23
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    1        Second Affirmative Defense: Qualified Immunities (state)2
    2              Cal. Gov. Code, § 815.2(b): Injuries by Employee Within Scope of
    3 Employment; Immunity of Employee
    4                If the employee is immune from liability, Defendant City of Los

   5 Angeles also is immune from liability.
                   Cal. Gov. Code, § 820.2: Discretionary Acts
   6
                          An employee of Defendant City of Los Angeles was exercising
   7
     the discretion vested in him/her.
   8
                   Cal. Gov. Code, § 820.8: Acts or Omissions of Others
   9
                          An employee of Defendant City of Los Angeles cannot be held
  10
     liable for an injury caused by the act or omission of another person.
  11
                   Cal. Gov. Code § 821.6: Immunity
  12
                   A public employee is not liable for injury caused by his instituting or
  13 prosecuting any judicial or administrative proceeding within the scope of his
  14 employment, even if he acts maliciously and without probable cause.
  15      Third Affirmative Defense: Self-Defense/Defense of Others
  16               1.     That Defendant Ramirez reasonably believed that Redel Jones
  17 was going to harm him or others; and
  18               2.     That Defendant Ramirez used only the amount of force that was
  19 reasonably necessary to protect himself or others.
  20               See CACI 1304.
  21         Fourth Affirmative Defense: Contributory Negligence
  22               1.     That Redel Jones was negligent; and

  23               2.     That Redel Jones’ negligence was a substantial factor in causing

  24 her death.
  25
         2
  26     Plaintiffs do not agree that there are any applicable state law immunities that
     would shield Officer Ramirez from trial for his violation of Plaintiffs’ civil rights
  27
     and will file a separate trial brief addressing this issue.
  28
                                                 -13-
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    1         See CACI 407 (2009).
    2         Fifth Affirmative Defense: Failure to Comply With California Tort Claims
                                                    3
    3 Act, California Government Code § 910 et seq.
    4              1.    Each plaintiff was required to file a government tort claim on

   5 each asserted state law claim with the City of Los Angeles within 6 months of the
     incident giving rise to the state law claims.
   6
            (c) In brief, the key evidence Defendant relies on for each counterclaim
   7
     and affirmative defense is: Testimony of the parties, testimony of Defendants’
   8
     experts, testimony of third party witnesses, autopsy report, video recordings of the
   9
     incident including the robbery, audio recording of the LAPD communications
  10
     broadcasts, and Defendants’ exhibits.
  11
     8.     REMAINING ISSUES TO BE TRIED.
  12
            In view of the admitted facts and the elements required to establish the
  13
     claims, counterclaims and affirmative defenses, the following issues remain to be
  14
     tried:
  15
            1.     Whether Officer Ramirez used excessive or unreasonable force against
  16
     Redel Jones4;
  17
            2.     Whether Officer Ramirez’s interfered with Plaintiffs’ familial relations
  18 with Redel Jones;
  19          3.    Plaintiffs contend that a remaining issue to be tried is, Whether Officer
  20 Ramirez was negligent and whether his negligence was a substantial factor in
  21 causing the death of Redel Jones? Defendants disagree and instead contend that a
  22
  23
          3
  24      Plaintiffs contend that they fully complied with §910, but contend that this is an
     issue of law and therefore do not include those documents on their list of exhibits
  25
     for trial. Plaintiffs will file a separate trial brief addressing this issue.
        4
  26      Plaintiffs contend that the same standard applies to Plaintiffs’ claims for battery
     under state law and for excessive force under the Fourth Amendment and that
  27
     substantial factor causation applies to both claims.
  28
                                                  -14-
                                     FINAL PRETRIAL CONFERENCE ORDER
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    1 remaining issue to be tried is, Whether Officer Ramirez used unreasonable force
    2 that was a substantial factor in causing the death of Redel Jones.
    3       4.     Whether Redel Jones was negligent and whether her negligence was a
    4 substantial factor in causing her death;
    5       5.      Whether there is a custom, practice or policy in the LAPD for the use
        deadly force with impunity that was the moving force that caused the deprivation of
    6
        Redel Jones’ constitutional rights;
    7
              6.     Whether the failure to adequately train or discipline LAPD officers for
    8
        their use of deadly excessive force was the moving force that caused the
    9
        deprivation of Redel Jones’ constitutional rights;
  10
              7.     Whether the LAPD ratified Officer Ramirez’s use of excessive force
  11
        against Redel Jones; (Defendants’ object to the inclusion of this claim for the
  12
        reasons stated above);
  13          8.     Whether Officer Ramirez acted with malice, oppression or in reckless
  14 disregard of Redel Jones’ rights; and if punitive damages are awarded, the amount
  15 of punitive damages.
  16          9.     Plaintiffs contend that a remaining issue to be tried is the nature and
  17 extent of Redel Jones’ damages. Defendants disagree;
  18          10.    Plaintiffs contend that a remaining issue to be tried is the nature and
  19 extent of Plaintiffs’ damages. Defendants disagree.
  20 9.       DISCOVERY
  21          All discovery is complete.
  22 10.      DISCLOSURES AND EXHIBITS

  23          To the best of the parties’ knowledge, each party has made all disclosures

  24 under F.R.Civ.P. 26(a)(3) to the other party.
           The proposed joint exhibit list of the parties has been filed (or will be filed)
  25
     under separate cover as required by L.R. 16-6.1.
  26
     11. WITNESSES
  27
           Witness lists of the parties have been filed with the Court.
  28
                                                   -15-
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    1       Only the witnesses identified in the lists will be permitted to testify (other
   2 than solely for impeachment).
     12. LAW AND MOTION
   3
            The following law and motion matters and motions in limine, and no
   4
     others, are pending or contemplated
   5
            Plaintiffs filed the following motions in limine, which are pending before this
   6
     Court:
   7
     1.     Plaintiffs’ Motion in Limine No. 1 to Exclude Specific Items of Evidence
   8
     Acquired After the Shooting and not Known to Officer Ramirez at the Time of
   9
     the Incident.
  10
     2.     Plaintiffs’ Motion in Limine No. 2 to Exclude the Investigation and Decision
  11
     by the Los Angeles County District Attorney not to Bring Criminal Charges against
  12
     Officer Ramirez;
  13
     3.     Plaintiffs’ Motion in Limine No. 3 to Exclude Reference to Black Lives
  14
     Matter for the Purpose of Eliciting Bias against Law Enforcement.
  15
  16 4.     Plaintiffs’ Motion in Limine No. 4 to Exclude Evidence of Statements Made

  17 by Courtyana Franklin to her Therapist as a Minor;
  18 5.   Plaintiffs’ Motion in Limine No. 5 to Limit the Opinions of Defense Expert

  19 Katapodis;
  20 6.   Plaintiffs’ Motion in Limine No. 6 to Exclude Opinions by Defense Expert

  21 Rocky Edwards, or in the Alternative, to Exclude Digital Reconstruction Images.
  22      Defendants filed the following motions in limine, which are pending before

  23 this Court:
  24               1. Defendants’ First Motion in Limine to trifurcate liability, damages

  25 and Monell, and exclude evidence of individual officers’ financial condition
  26             2. Defendants’ Second Motion in Limine to exclude evidence of any

  27 administrative investigations or proceedings involving any of the individual LAPD
  28 officers.
                                                 -16-
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    1               3. Defendant’s Third Motion in Limine to exclude evidence,

    2 statements, suggestions or inferences of other incidents, lawsuits, claims, verdicts,
    3 settlements or judgments involving the City, the LAPD or any of the individual
    4 Defendants
    5               4. Defendants’ Fourth Motion in Limine to preclude Plaintiffs’

    6 expert, Roger Clark, from testifying as to and matters beyond his area of expertise
    7             5. Defendants’ Fifth Motion in Limine to Exclude any evidence or

    8 testimony relating to decedent’s mental status/disorders and/or treatment
    9 medications
  10 13.     BIFURCATION / TRIFURCATION

  11         Plaintiffs agree to sever trial concerning the amount of punitive damages from

  12 all other issues at trial. Plaintiffs oppose any other severance or bifurcation.
  13        Defendants propose to trifurcate the trial as follows: liability, damages, and

  14 Monell.
  15      The Court ORDERS that the case will be trifurcated into the following

  16 phases: (1) liability, (2) damages, and (3) Monell.
  17 14. PRETRIAL ORDER SUPERCEDES THE PLEADINGS
  18         The foregoing admissions having been made by the parties, and the
  19 parties having specified the foregoing issues remaining to be litigated, this Final
  20 Pretrial Conference Order shall supersede the pleadings and govern the course of
  21 the trial of this cause, unless modified to prevent manifest injustice.
  22         IT IS SO ORDERED.
  23
        Dated: October 26, 2017                ___________________________________
  24                                           Honorable André Birotte Jr.
  25                                           United States District Court
                                               Central District of California
  26
  27
  28
                                                  -17-
                                     FINAL PRETRIAL CONFERENCE ORDER
